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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
RRF BUILDING, LLC. et al.,  :                      Civil No. 1:23-CV-00341
                            :
        Plaintiffs,         :
                            :
        v.                  :
                            :
EXCEL DEVELOPMENT GROUP, et :
al.,                        :
                            :
        Defendants.         :                      Judge Jennifer P. Wilson
                         CASE MANAGEMENT ORDER
      Counsel participated in a telephonic status conference with the court on

August 14, 2023, at which time, agreements were reached by the parties in

consultation with the court after review of the parties’ joint case management plan.

The following summary of dates and deadlines is provided for convenience, but

counsel shall review the entirety of this order.

                         Summary of Dates and Deadlines
       Joinder of additional parties for Plaintiff:      September 30, 2023
       Joinder of additional parties for Defendant:      October 30, 2023
       Amended pleadings for Plaintiff:                  September 30, 2023
       Amended pleadings for Defendant:                  October 30, 2023
       Discovery Disputes: (6-weeks prior)               January 18, 2024
       Status conference:                                January 24, 2024, at 10:30 a.m.
       Fact discovery:                                   February 29, 2024
       Dispositive motions and supporting briefs:        March 29, 2024
       Plaintiff’s expert reports:                       March 29, 2024
       Defendant’s expert reports:                       May 3, 2024
       Supplemental and rebuttal expert reports:         May 17, 2024
       Expert discovery:                                 June 14, 2024
       Motions in limine and supporting briefs:          July 10, 2024
       Pretrial memoranda:                               August 7, 2024

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        Proposed voir dire and jury instructions:     August 7, 2024
        Final pretrial conference:                    August 21, 2024
        Trial:                                        September 3, 2024


IT IS ORDERED THAT:

1.     Joinder of Additional Parties and Amended Pleadings. All additional

parties for Plaintiff shall be joined by September 30, 2023. All additional parties

for Defendant shall be joined by October 30, 2023. Amended pleadings for

Plaintiff are due by September 30, 2023. Amended pleadings for Defendant are

due by October 30, 2023.

2.     Trial List. The above case is hereby placed on the September, 2024, trial

list. Jury selection for trials on this list will commence at 9:30 a.m. on September

3, 2024, in Courtroom No. 1, Eighth Floor, in the Sylvia H. Rambo United States

Courthouse, 1501 N. 6th Street, Harrisburg, Pennsylvania. Counsel are attached for

trial. Trials will commence immediately following the completion of jury

selections. Counsel should note that criminal matters take priority over and may

delay the beginning of the civil trial list.

3.     Discovery Disputes. The final deadline to file a discovery dispute shall be

six (6) weeks prior to the close of fact discovery.

4.     Status Conference. A status conference will be conducted via telephone by

the court on January 24, 2024, at 10:30 a.m. The parties shall call-in to the

conference calling number 877-336-1828, using the access code 2529544. The
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purpose of this conference will be to discuss any outstanding discovery issues,

settlement options, and any other issues. Participation in this conference by

counsel and by self-represented parties is mandatory. Any counsel of record may

participate in this conference call.

5.    Fact Discovery. Fact discovery shall be completed by February 29, 2024.

All requests for extensions of this deadline shall be made at least fourteen days

before the expiration of the discovery period.

6.    Expert Reports and Expert Discovery. Plaintiff’s expert reports are due

on March 29, 2024. Defendant’s expert reports are due on May 3, 2024.

Supplemental and rebuttal expert reports are due on May 17, 2024. Expert

discovery shall be completed by June 14, 2024.

7.    Dispositive Motions. Dispositive motions and supporting briefs shall be

filed by. Briefing on dispositive motions shall comply with Local Rules 7.4, 7.5,

7.6, 7.7, 7.8, and 56.1, except that briefs in support of any dispositive motions shall

be filed by the above date March 29, 2024.

8.    Motions in Limine. Motions in limine and supporting briefs shall be filed

by July 10, 2024.

9.    Pretrial Memoranda, Voir Dire, Jury Instructions and Verdict Form.

Pretrial memoranda, proposed voir dire questions, the joint voir dire fact statement,

proposed jury instructions, and proposed verdict form shall be filed by August 7,


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2024. No later than seven days before this date, counsel shall hold a conference as

indicated in Local Rule 16.3.



10.   Final Pretrial Conference. A final pretrial conference will be held on

August 21, 2024, at 9:30 a.m., in Courtroom No. 1, Eighth Floor, of the Sylvia H.

Rambo United States Courthouse, 1501 N. 6th Street, Harrisburg, Pennsylvania.

                                      s/Jennifer P. Wilson
                                      JENNIFER P. WILSON
                                      United States District Judge
                                      Middle District of Pennsylvania
Dated: August 15, 2023




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